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 8   Attorneys for Defendant
     THE J.R. CLARKSON COMPANY LLC
 9
                                        UNITED STATES DISTRICT COURT
10
                                       NORTHERN DISTRICT OF CALIFORNIA
11
12
13 MARY KUNTZ, as Successor-in-Interest to                Case No: 3:21-cv-06935-JCS
   and as Wrongful Death Heir of WILLIAM
14 KUNTZ, Deceased; and ANNIE GRAYE,                      [Assigned to Hon. Joseph C Spero, Crt. F]
   JENNIE MARTIN and SARA THORNTON,
15 as Wrongful Death Heirs of WILLIAM                     DEFENDANT THE J.R. CLARKSON
   KUNTZ, Deceased,                                       COMPANY LLC’S RULE 7.1 DISCLOSURE
16                                                        STATEMENT
                         Plaintiffs,
17
                  vs.
18
     A.W. CHESTERTON COMPANY, et al.,
19
                         Defendants.
20
21
22                TO THE HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS OF

23 RECORD:
24                Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 7.1-1, Defendant, The J.R.

25 Clarkson Company LLC (hereinafter “J.R. Clarkson”) states as follows:
26                1.     J.R. Clarkson is a Nevada limited liability company, which is an indirect wholly owned

27 subsidiary of Emerson Electric Co. Emerson Electric Co. is a publicly traded corporation whose
28 principal place of business is 8100 W. Florissant, St.
                                                      1
                                                          Louis, MO 63136.
                                                                      3:21-cv-06935-JCS
                  DEFENDANT THE J.R. CLARKSON COMPANY LLC’S RULE 7.1 DISCLOSURE
                                           STATEMENT
     5326775 v1
                  Case 4:21-cv-06935-JSW Document 7 Filed 09/09/21 Page 2 of 3




 1                2.    Emerson Final Control US Holding LLC, a Texas limited liability company, is J.R.

 2 Clarkson’s sole member. Emerson Final Control US Holding LLC’s sole member is Flow Control US
 3 Holding Corporation, a Delaware Corporation whose principal place of business is 8100 W. Florissant,
 4 St. Louis, MO 63136.
 5                3.    The undersigned, counsel of record for J.R. Clarkson, certifies that the following listed

 6 party (or parties) may have a pecuniary interest in the outcome of this case. These representations are
 7 made to enable the Court to evaluate possible disqualification or recusal.
 8                      a.     Emerson Electric Company;

 9                      b.     Emerson Final Control US Holding LLC;

10                      c.     Flow Control US Holding Corporation.

11 Dated: September 9, 2021                               FOLEY & MANSFIELD, PLLP

12
                                                   By: /s/ Jocelyn M. Soriano
13                                                     Gary D. Sharp
                                                       T. Eric Sun
14                                                     Jocelyn M. Soriano
                                                       Andrew L. Sharp
15                                                     Attorneys for Defendant
                                                       THE J.R. CLARKSON COMPANY LLC
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28                                              2                     3:21-cv-06935-JCS
                  DEFENDANT THE J.R. CLARKSON COMPANY LLC’S RULE 7.1 DISCLOSURE
                                           STATEMENT
     5326775 v1
             Case 4:21-cv-06935-JSW Document 7 Filed 09/09/21 Page 3 of 3



 1
                                                   PROOF OF SERVICE
 2
           I am employed in the County of Los Angeles, State of California. I am over the age of 18
 3 and not  a party to the within action; my business address is 181 W. Huntington Drive, Suite 210,
   Monrovia, California 91016.
 4
       I filed and served the foregoing document described as: DEFENDANT THE J.R.
 5 CLARKSON    COMPANY LLC’S RULE 7.1 DISCLOSURE STATEMENT.

 6                VIA CM/ECF Notification System                    VIA CM/ECF Notification System
                       Alan R. Brayton, Esq.                     All Defense Counsel Listed on PACER
 7                    David R. Donadio, Esq.                                   Website
                       James P. Nevin, Esq.
 8                    Nancy T. Williams, Esq.
 9                  BRAYTON PURCELL LLP
                         Attorneys at Law
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                           PO Box 6169
11                 Novato, California 94948-6169
                    ddonadio@braytonlaw.com
12
13                    Attorneys for Plaintiff(s)

14    ☒           (BY COURT'S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically filed the
                  documents with the Clerk of the Court using the CM/ECF systems, to the parties and/or
15                counsel who are registered CM/ECF Users set forth in the service list that is located on the
                  PACER website.
16
                  Executed on September 9, 2021, Monrovia, California.
17
      ☒           [FEDERAL] I declare that I am employed in the office of a member of the bar of this
18                Court at whose direction the service was made.

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21                                                     Elona C. Conchas
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                                                                                           3:21-cv-06935-JCS
                                             CERTIFICATE OF SERVICE
     5326775 v1
